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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEVADA

 JOSE MARIA DECASTRO,                            :   CASE NO. 2:24-cv-00435-DJA
                                                 :
        Plaintiff,                               :   MAGISTRATE JUDGE DANIEL J.
                                                 :   ALBREGTS
 v.                                              :
                                                 :   REPLY IN SUPPORT OF DEFENDANTS
 EVAN MCKNIGHT, ET AL.,                          :   PAM WAGNER, BRAD SPOLJARIC,
                                                 :   CHANCE BLANKENSHIP, EVAN
        Defendants.                              :   MCKNIGHT, ROBERT FOUCH, AND
                                                 :   THE CITY OF IRONTON, OHIO’S
                                                 :   MOTION TO DISMISS OR IN THE
                                                 :   ALTERNATIVE TRANSFER VENUE
                                                 :   (Doc. 22)


       Now come Defendants Pam Wagner, Brad Spoljaric, Chance Blankenship, Evan

McKnight, Robert Fouch, and the City of Ironton, Ohio (“the Ironton Defendants”), by and through

their undersigned counsel, and hereby submit their Reply in Support of their Motion to Dismiss

(“Motion”) (Doc. 22). Plaintiff’s Response in Opposition to Defendants’ Motion to Dismiss

(“Response”) (Doc. 30) fails to show that even taking the allegations in the Complaint as true that

Plaintiff is entitled to relief on all of Plaintiff’s claims. Accordingly, this Court should grant

Defendants’ Motion and dismiss all of Plaintiff’s claims with prejudice.

I.     Plaintiff Has Not Demonstrated That His Complaint Includes a Claim Upon Which
       Entitles Him to Relief

       All of Plaintiff’s claims in the Complaint in this matter are barred by res judicata or claim

preclusion because they have been previously litigated or could have been raised in his prior action

in the Southern District of Ohio against the Ironton Defendants. "A defendant may raise the

affirmative defense of res judicata by way of a motion to dismiss under Rule 12(b)(6)." Semas v.

Chemetall US, Inc., No. 3:19-CV-00125-CLB, 2024 U.S. Dist. LEXIS 172049, at *15-16 (D. Nev.

Sep. 24, 2024 citing Scott v. Kuhlmann, 746 F.2d 1377, 1378 (9th Cir. 1984)).

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         "The related doctrines of claim and issue preclusion, by precluding parties from contesting

matters that they have had a full and fair opportunity to litigate, protect against the expense and

vexation attending multiple lawsuits, conserve judicial resources, and foster reliance on judicial

action by minimizing the possibility of inconsistent decisions." Semas, supra, at *15 (D. Nev. Sep.

24, 2024) citing Media Rights Technologies, Inc. v. Microsoft Corp., 922 F.3d 1014, 1021 (9th

Cir. 2019) (quoting Taylor v. Sturgell, 553 U.S. 880, 892, 128 S. Ct. 2161, 171 L. Ed. 2d 155

(2008)) (cleaned up). "Claim preclusion, often referred to as res judicata, bars any subsequent suit

on claims that were raised or could have been raised in a prior action. Hilliard v. Murphy Land

Co., Ltd. Liab. Co., Nos. 22-35129, 22-35199, 22-35495, 2023 U.S. App. LEXIS 4632, at *3-4

(9th Cir. Feb. 27, 2023) Claim preclusion 'applies when there is (1) an identity of claims; (2) a

final judgment on the merits; and (3) identity or privity between the parties.'" Id. citing Cell

Therapeutics, Inc. v. Lash Grp., Inc., 586 F.3d 1204, 1212 (9th Cir. 2009), as amended on denial

of reh'g and reh'g en banc (Jan. 6, 2010) (emphasis added) (quoting Stewart v. U.S. Bancorp, 297

F.3d 953, 956 (9th Cir. 2002)). Here, Plaintiff generally only disputes the second element: whether

the prior case resulted in a final judgment on the merits even though the district court dismissed

the first case with prejudice. Id. at *4 citing Hells Canyon Pres. Council v. U.S. Forest Serv., 403

F.3d 683, 686 (9th Cir. 2005) ("Final judgment on the merits is synonymous with dismissal with

prejudice.") (cleaned up.) However, all of Plaintiff’s arguments against res judicata are misplaced.

         The claims asserted in this case arise from the same events and circumstances as the prior

action—Plaintiff’s arrest on March 22, 2022. (Docs. 3, 19-1, 19-2 and 19-3); see also DeCastro v.

Wagner, No. 23-3808, 2024 U.S. App. LEXIS 15425, at *12 (6th Cir. June 25, 2024). 1 In both



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 Courts "may take judicial notice of undisputed matters of public record," including filings in federal or state courts.
Semas v. Chemetall US, Inc., No. 3:19-CV-00125-CLB, 2024 U.S. Dist. LEXIS 172049, at *14 (D. Nev. Sep. 24,
2024) citing Harris v. Cty. of Orange, 682 F.3d 1126, 1131-32 (9th Cir. 2012).

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cases, Plaintiff purports to challenge his arrest that day. (Docs. 1, Pg. 29-35; Doc. 30, Pg. 1; Docs.

19-2.) Plaintiff cannot avoid the bar of claim preclusion merely by alleging conduct by the

Defendants not alleged in the prior action, or by pleading a new legal theory. See McClain v.

Apodaca, 793 F.2d 1031, 1034 (9th Cir. 1986). In this instance, Plaintiff cannot reasonably argue

that the facts and allegations in this case do not arise out of the same incident litigated in Ohio.

       Additionally, in the prior suit in Ohio, there was a final judgment on the merits. On August

3, 2023, the District Court in the Southern District of Ohio issued its Opinion & Order on the

Motion for Judgment on the pleadings filed by Defendants Chance Blankenship, Robert Fouch,

Evan McAKnight, Brad Spoljaric, Pam Wagner and the City of Ironton. (Doc. 19-3). The District

Court specifically addressed each of Plaintiff’s claims under the Fourth, Fourteenth and First

Amendment. (Id.) Thereafter, Plaintiff filed an Appeal of that decision to the Sixth Circuit Court

of Appeals. The Court of Appeals upheld the District Court’s decision. DeCastro, supra at *12

(6th Cir. June 25, 2024). Dismissal for failure to state a claim under Rule 12(b)(6) is considered a

final judgment on the merits. Evig, LLC v. Fantasy, Inc., No. 2:24-cv-00349-GMN-DJA, 2025

U.S. Dist. LEXIS 58150, at *6 (D. Nev. Mar. 28, 2025) citing Federated Dept. Stores, Inc. v.

Moitie, 452 U.S. 394, 399 n.3, 101 S. Ct. 2424 (1981); see also Nnachi v. City of San Francisco,

No. C 10-00714 MEJ, 2010 U.S. Dist. LEXIS 95750, 2010 WL 3398545, at *5-6 (N.D. Cal. 2010)

(action dismissed for failure to state a claim serves as final judgment on the merits for res judicata

purposes). Thus, claim preclusion applies.

       Finally, Plaintiff does not dispute that both actions are against the same parties. Rather,

Plaintiff attempts to argue that the legal claims are different. However, a cursory review of the

claims in both actions reveals that they are the same. Moreover, res judicata precludes not only

claims that were previously litigated but also claims that could have been raised in the prior action.



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Harvey v. O'Quinn, 57 F. App'x 754, 755 (9th Cir. 2003) citing Allen v. McCurry, 449 U.S. 90,

94, 101 S. Ct. 411 (1980). Because they arise out of the same incident, his May 22, 2022 arrest,

any causes of action that were not brought in the prior action certainly could have been. Plaintiff

has not identified any claims in this case that could not have been brought in the prior case between

the parties. As such, Plaintiff’s claims are barred by claim preclusion and as such, should be

dismissed under Fed. R. Civ. P. 12(b)(6).

II.     Plaintiff Has Failed to Satisfy His Burden to Demonstrate that this Court May
        Properly Exercise Personal Jurisdiction Over the Ironton Defendants

        Notwithstanding the foregoing, Plaintiff has failed to make a prima facie showing of

personal jurisdiction. Pursuant to Rule 12(b)(2) of the Federal Rules of Civil Procedure, a

defendant may move to dismiss for lack of personal jurisdiction. Fed. R. Civ. P. 12(b)(2). Juarez

v. Harding, No. 2:24-cv-00326-GMN-DJA, 2025 U.S. Dist. LEXIS 31460, at *2-3 (D. Nev. Feb.

21, 2025) Once a defendant raises the defense, the burden then falls on the plaintiff to prove

sufficient facts to establish that jurisdiction is proper. Id. citing Boschetto v. Hansing, 539 F.3d

1011, 1015 (9th Cir. 2008). When no federal statute applies to the determination of personal

jurisdiction, the law of the state in which the district court sits applies. Id. citing Schwarzenegger

v. Fred Martin Motor Co., 374 F.3d 797, 800 (9th Cir. 2004). Thus, "[b]ecause Nevada's long-arm

statute grants courts jurisdiction over persons 'on any basis not inconsistent with' the U.S.

Constitution, the jurisdictional analyses under state law and federal due process are identical." Id.

citing Edwards v. Juan Martinez, Inc., 506 F. Supp. 3d 1061, 1068 (D. Nev. 2020); Nev. Rev. Stat.

§ 14.065. However, Plaintiff’s Response makes no attempt to set forth sufficient facts to establish

that jurisdiction in this Court is proper.

        "There are two forms of personal jurisdiction that a forum state may exercise over a

nonresident defendant—general jurisdiction and specific jurisdiction." Exom v. Brock & Scott,

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PLLC, No. 2:24-cv-00773-APG-EJY, 2025 U.S. Dist. LEXIS 11767, at *3 (D. Nev. Jan. 23, 2025)

citing Boschetto v. Hansing, 539 F.3d 1011, 1016 (9th Cir. 2008). Plaintiff has failed to establish

either. Specific jurisdiction depends on an "activity or an occurrence that takes place in the forum

State and is therefore subject to the State's regulation." Id. citing Goodyear Dunlop Tires

Operations, S.A. v. Brown, 564 U.S. 915, 919, 131 S. Ct. 2846, 180 L. Ed. 2d 796 (2011). In

contrast with general jurisdiction, "specific jurisdiction is confined to adjudication of issues

deriving from, or connected with, the very controversy that establishes jurisdiction." Id. (quotation

omitted). "For a court to exercise personal jurisdiction over a nonresident defendant, that defendant

must have at least minimum contacts with the relevant forum such that the exercise of jurisdiction

does not offend traditional notions of fair play and substantial justice." Id. citing Schwarzenegger

v. Fred Martin Motor Co., 374 F.3d 797, 801 (9th Cir. 2004) (quotation omitted).

       Plaintiff has not pled or argued that Defendants purposefully directed or consummated a

transaction in Nevada; that Defendants’ actions arouse out of related to any Nevada-related

activities or that the exercise of personal jurisdiction would be reasonable. Exom at *4 citing

Morrill v. Scott Fin. Corp., 873 F.3d 1136, 1142 (9th Cir. 2017.) Additionally, nothing in Plaintiff’s

Complaint demonstrates that Defendants had constant or pervasive contact with Nevada to

establish general jurisdiction. Rather, Plaintiff does nothing more than state that “Defendants knew

or should have known that their actions would have effects reaching beyond Ohio.” Such a bare

bones claim is simply not sufficient to establish personal jurisdiction.

       Moreover, Plaintiff’s Response does not even address and does nothing to show that the

Ironton Defendants were sufficiently or properly served. Thus, due to the insufficient service, the

Court lacks personal jurisdiction over the Ironton Defendants and Plaintiffs claims must be

dismissed. Butcher's Union Local No. 498 v. SDC Inv., Inc., 788 F.2d 535, 538 (9th Cir. 1986). As



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was noted in their Motion, Defendants were not properly served pursuant to N.R.C.P. 4.2(a).

Therefore, because there was insufficient service on the Ironton Defendants, despite multiple

extensions to allow for such, Plaintiff’s Complaint must be dismissed.

III.    Plaintiff Has Not Satisfied His Burden to Establish that the Venue Is Proper
        Finally, the Ironton Defendants are further entitled to dismissal pursuant to Fed.R.Civ.P.

12(b)(3) because this Court is an improper venue for Plaintiff’s claims. When the propriety of

venue is challenged by a Rule 12(b)(3) motion, Plaintiff bears the burden of establishing proper

venue. Harvey v. Gande, No. 2:24-cv-00961-GMN-DJA, 2025 U.S. Dist. LEXIS 10097, at *2 (D.

Nev. Jan. 17, 2025) citing Piedmont Label Co. v. Sun Garden Packing Co., 598 F.2d 491, 496 (9th

Cir. 1979). Further, if a case is filed in the wrong division or district, the court must dismiss the

case, "or if it be in the interest of justice, transfer such case to any district or division in which it

could have been brought." Id. citing 28 U.S.C. § 1406(a).

        Plaintiff does not present any facts to satisfy his burden of establishing that this Court is

the proper venue. Instead, Plaintiff only contends that if venue is improper than the case should be

transferred. However, while this Court certainly can transfer venue, to do so would not be in the

interest of justice due to all of the arguments set forth in Sections I and II, above. Primarily, that

Plaintiff’s claims are barred by res judicata.

IV.     CONCLUSION

        In light of the foregoing, and the arguments set forth in their Motion to Dismiss, the Ironton

Defendants respectfully request that this Court grant their Motion to Dismiss pursuant to

Fed.R.Civ.P. 12(b)(6), and dismiss all of Plaintiff’s claims against them, with prejudice; or, in the

alternative, transfer Plaintiff’s claims to the proper venue—the Southern District of Ohio, Western

Division in Cincinnati, Ohio.



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DATED this 5th day of May, 2025

                                                     Respectfully submitted,

                                                     SURDYK, DOWD & TURNER CO., L.P.A.

                                                     /s/ Dawn M. Frick_________
                                                     Dawn M. Frick (0069068)
                                                     Admitted Pro Hac Vice
                                                     8163 Old Yankee Street, Suite C
                                                     Dayton, Ohio 45458
                                                     (937) 222-2333, (937) 222-1970 (fax)
                                                     dfrick@sdtlawyers.com
                                                     Trial Attorney for Pam Wagner, Brad
                                                     Spoljaric, Chance Blankenship, Evan
                                                     McNight, Robert Fouch, and the City of
                                                     Ironton, Ohio


                                CERTIFICATE OF SERVICE

        I hereby certify that on May 5, 2025, I electronically filed the foregoing document with the
Clerk of the Court using the CM/ECF system, a copy of which will automatically be forwarded to
the parties or their counsel of record and by placing an original or true copy thereof in a sealed,
postage prepaid, envelope in the United States mail at Reno, Nevada, fully addressed as follows:

       Jose DeCastro
       1258 Franklin Street
       Santa Monica, CA 90404
       Pro Se Plaintiff

                                                     /s/ Dawn M. Frick_________
                                                     Dawn M. Frick (0069068)




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